                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

   UNITED STATES OF AMERICA                               )
                                                          )
   v.                                                     )       No. 3:20-CR-00021
                                                          )
   ANMING HU                                              )
                                                          )

                                 NOTICE OF APPEARANCE

          Notice is hereby given of the appearance of A. Philip Lomonaco, as retained

   counsel for Defendant ANMING HU in this case.



                          Respectfully submitted this 2nd day of March, 2020.



                                                          s/A. Philip Lomonaco
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                                CERTIFICATE OF SERVICE

           I do hereby certify that a copy of the foregoing document was filed electronically.
   Notice of this filing will be sent by operation of the Court’s electronic filing system to all
   parties indicated on the electronic filing receipt. All other parties will be served by U. S.
   Mail. Parties may access this filing through the Court’s electronic filing system.

                                                          s/A. Philip Lomonaco




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